            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        BRYSON CITY DIVISION

                        CRIMINAL NO. 2:03CR64


UNITED STATES OF AMERICA                 )
                                         )
                                         )
                 VS.                     )           ORDER
                                         )
                                         )
STEVEN ANTHONY ENSLEY                    )
                                         )


     THIS MATTER is before the Court on Defendant’s pro se motion for

early termination of his supervised release. The Government opposes the

relief sought. See Defendant’s Letter, filed April 2, 2009; Government’s

Response to Defendant’s Motion to Terminate Supervision, filed April

3, 2009.

     The Court may, after giving consideration to the factors enumerated

in 18 U.S.C. § 3553, terminate a term of supervised release and discharge

the defendant from supervision after the expiration of one year of

supervised release. 18 U.S.C. § 3583(e)(1). However, for the reasons set

forth in the Government’s response to Defendant’s request, the Court

declines to do so.




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     IT IS, THEREFORE, ORDERED that the Defendant’s motion for

early termination of his supervised release is DENIED.

                                    Signed: April 3, 2009




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